
PER CURIAM.
[ denied. On the showing made, relator is not entitled to reconsideration of his previously denied application;
Relator has now fully litigated his application for' post-conviction relief in state court. ‘ Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-cohviction procedure envisions the filing of a second or successivé application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended La.C.Cr.P. art. 930.4 to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in state collateral proceedings in accord with La.C.Cr.P. art. 930.6, and' this denial is *694final. Hereafter, unless relator can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
